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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLORADO



  Civil Action No.:

  CAROLYN O’NEAL,

         Plaintiff,

  v.

  THE BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF FREMONT;
  SHERIFF JAMES BEICKER, in his individual and official capacities;
  TY MARTIN, in his individual and official capacities;
  MICHAEL FETTERHOF, in his individual and official capacities;
  TROY JOHNSTON, in his individual and official capacities;
  STEVE SANGER, in his individual and official capacities;
  MICHAEL ULRICH, in his individual and official capacities;
  RICHARD SOLANO, in his individual and official capacities;
  CARRIE HAMMEL, in her individual and official capacities;
  CAMERON GONZALES, in his individual and official capacities;
  JOSHUA POHL, in his individual and official capacities;
  DEBORA BUNCH, in her individual and official capacities;

        Defendants.
  ______________________________________________________________________________

                       PLAINTIFF’S COMPLAINT AND JURY DEMAND

  ______________________________________________________________________________

         Plaintiff, Carolyn O’Neal, by and through counsel, David Lane and Eudoxie (Dunia)


  Dickey of KILLMER, LANE & NEWMAN, LLP, respectfully alleges for her Complaint and Jury

  Demand as follows:




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                                     I.      INTRODUCTION

         1.      This action arises out of the Fremont County Sheriff’s Office (FCSO) Deputy


  Michael Fetterhoff’s, Sergeant Troy Johnston’s and Sergeant Steve Sanger’s false arrest/unlawful


  seizure of and excessive force against Plaintiff Carolyn O’Neal on or about May 5, 2014, and


  Ms. O’Neal’s subsequent illegal detainment and excessively forceful treatment at the hands of


  Defendants FCSO correctional officers Michael Ulrich, Richard Solano, Carrie Hammel,

  Cameron Gonzales, Joshua Pohl and Debora Bunch at the Fremont County Detention Center,

  located at 100 Justice Center Road in Cañon City, Colorado (the “Jail”).


         2.      Motivated by a desire to retaliate against Ms. O’Neal for her constitutionally-

  protected expressions of protest at their illegal law enforcement misconduct, and without

  probable cause, Defendants unlawfully seized and arrested the nude Ms. O’Neal while

  performing a welfare check, paraded her naked outside and then took her to the Jail, where she

  remained completely nude for another twelve (12) hours. During this illegal and totally

  unjustified detainment, Defendants treated Ms. O’Neal like an animal, kept her restrained in a

  restraint chair—clothed in only a spit mask—and excessively forcefully applied a “hypoglossal

  pressure point” compliance technique and tased her twice at close range on her upper right leg in

  “drive stun mode” to shut her up and in further retaliation for Ms. O’Neal’s threats that she

  would remember Defendants’ names and they would lose their jobs because of their completely

  illegal and unjustified actions. At all relevant times, Defendants acted pursuant to the custom,

  policy and practice of Fremont County and violated numerous of Ms. O’Neal’s rights guaranteed



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  by the First, Fourth and Fourteenth Amendments to the United States Constitution as well as her

  rights under the Americans with Disabilities Act.

                                        II. JURISDICTION AND VENUE

          6.      This action arises under the Constitution and laws of the United States and the

  State of Colorado, and is brought pursuant to Title 42 U.S.C. § 1983.

          7.      Jurisdiction is conferred on this Court pursuant to 28 U.S.C. § 1331.

          8.      Jurisdiction supporting Plaintiff’s claim for attorneys’ fees and costs is conferred

  by 42 U.S.C. § 1988.

          9.      Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All

  of the events alleged herein occurred within the State of Colorado, and all of the parties were

  residents of the State at the time of the events giving rise to this litigation.

                                            III.     PARTIES

          Plaintiff

          10.     Plaintiff, Carolyn O’Neal, is a citizen of the United States and was at all times


  relevant hereto a resident of and domiciled in the State of Colorado.

          Defendants

          6.      Fremont County is a governmental entity chartered under the laws of the State of

  Colorado. Among other things, Fremont County operates the Fremont County Detention Center

  (“the Jail”), located at 100 Justice Center Rd. in Cañon City, Colorado.

          7.      Defendant Board of County Commissioners of the County of Fremont represents,

  oversees, and sets policy for Fremont County, Colorado. Under Colo. Rev. Stat. § 30-11-105,

  the Board of County Commissioners of the County of Fremont is the proper party to name in an

  action against Fremont County.

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         8.      At all times relevant to this Complaint, Defendant Sheriff James Beicker and

  Defendant Undersheriff Ty Martin, respectively, were each a citizen of the United States,

  resident of and domiciled in the State of Colorado and were each acting under color of state law

  in their capacities as the Fremont County Sheriff and Fremont County Undersheriff, respectively,

  employed by the Fremont County Sheriff’s Office. Defendant Sheriff James Beicker and


  Defendant Undersheriff Ty Martin, in their respective official capacities, are each a final

  policymaker for Fremont County with respect to all matters concerning the Fremont County

  Sheriff’s Office and all of its divisions, including the Fremont County Detention Center.


         9.      Defendants Board of Commissioners of the County of Fremont, Sheriff James

  Beicker and Undersheriff Ty Martin are collectively referred to as “the Fremont County

  Defendants.”

         10.     At all times relevant to this Complaint, Defendant Deputy Michael Fetterhoff,

  Defendant Sergeant Troy Johnston, Defendant Sergeant Steve Sanger, Defendant Sergeant

  Michael Ulrich, Defendant Corporal Richard Solano, Defendant Sergeant Carrie Hammel,

  Defendant Deputy Cameron Gonzales, Defendant Deputy Debora Bunch, and Defendant Deputy

  Joshua Pohl, respectively, were each a citizen of the United States, resident of and domiciled in

  the State of Colorado and were each acting under color of state law in their respective capacities

  as law enforcement officers employed by the Fremont County Sheriff’s Office.

                                IV.     FACTUAL ALLEGATIONS

     A. MS. O’NEAL’S LIFE


         11.     Ms. O’Neal was born in Mexia, Texas on August 3, 1964.



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            12.   At the time of her unlawful arrest and detainment, Ms. O’Neal was 49 years old.


            13.   Ms. O’Neal is a petite woman, weighing just 123 pounds with a stature of 5 feet, 3


  inches.

            14.   Ms. O’Neal is a proud mother and grandmother. She has three children, Bradley


  (Brad), 28, Mindy, 26, and Jody, 20, and two grandchildren, Brody, 4, Benjamin, 9 months, with

  a granddaughter due in July 2016.

            15.   Ms. O’Neal was married for over thirty (30) years, but when her marriage fell


  apart and she left her husband in August 2010, her health declined and she began to struggle

  financially.

            16.   Following the end of her marriage, Ms. O’Neal held several jobs, including at


  Petco and City Market in Cañon City, Colorado, but eventually she was no longer able to work

  due to severe spine problems. Ms. O’Neal has had several back surgeries and her neck is fused


  together.

            17.   Ms. O’Neal has not been blessed with good health. She suffers from a number of


  medical conditions, including but not limited to Panic Anxiety Disorder; Posttraumatic Stress

  Disorder (PTSD); Degenerative Disk Disease; Spinal Stenosis; Spinal Fusion of C-Spine 5, 6 and

  7; Pinched Nerves, Bulging and Disk Herniation; Neuropathy; Radiculopathy; Osteoarthritis;

  Chronic Obstructive Pulmonary Disease (COPD); Hepatitis C; Dysplasia; Carpal Tunnel

  Syndrome; Ulcerative Colitis; and Acute Pancreatitis.



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         18.     While homeless and living in Grand Junction, Colorado, Ms. O’Neal was the


  victim of domestic violence at the hands of an abusive boyfriend. She was beaten, burned with a

  cigarette and suffered a broken arm.

         19.     Ms. O’Neal moved to Cañon City, Colorado to escape her abusive boyfriend, be


  near her daughter Mindy and help take care of her grandson Brody.

         20.     Due in part to her physical inability to work, prior to living at New Creations Inn,

  Ms. O’Neal was briefly homeless, living in her car and struggling with Substance Use Disorder.


         21.     Despite these challenges, Ms. O’Neal was determined to turn her life around in


  order to help support her daughter and grandson.

         22.     In October 2013, Ms. O’Neal checked herself into the New Creations Inn, a sober


  living facility in Cañon City, Colorado, out of a renewed commitment to her health and sobriety.

         23.     At the time of her unlawful arrest, Ms. O’Neal was attending Alcoholics


  Anonymous (AA) meetings daily, as she does currently.

         24.     Throughout her life, Ms. O’Neal has suffered from diagnosed Panic Anxiety


  Disorder and PTSD stemming from certain traumatic events she endured in her childhood. The

  abuse she suffered led her to be homeless by the age of twelve (12).

         25.     At the time of her unlawful arrest, Ms. O’Neal was receiving therapy and


  medication treatment for her Panic Anxiety Disorder and PTSD from a clinician at West Central




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  Mental Health Center (now Solvista Health) in Cañon City, Colorado. Ms. O’Neal continues to


  work with a clinician at Solvista Health to address these conditions.

            26.   In the months following her arrest and detainment, Ms. O’Neal successfully


  applied for full Social Security Disability (SSD) on the basis of severe back problems and PTSD.

  She remains on full SSD and currently lives in low-income housing in Cañon City, Colorado.

            27.   In early 2014, Ms. O’Neal’s mother was diagnosed with advanced stage pancreatic


  cancer.

            28.   When Ms. O’Neal discovered that her mother had very little time left to live, she


  began preparing to leave New Creations Inn and relocate to Grand Junction, Colorado to take

  care of her dying mother.

            29.   On May 5, 2014, as Ms. O’Neal packed her belongings with the help of her fellow


  resident, Timothy Ford, she received a call from her sister, Laura Kay Jones, who informed Ms.

  O’Neal that doctors had decided their mother’s late-stage cancer had progressed too far and they


  would be unable to proceed with a planned life-saving surgery.

            30.   Understandably, this news proved a devastating blow, and Ms. O’Neal was in


  despair. As Ms. O’Neal bewailed her dying mother, Mr. Ford became worried.


            31.   Upon information and belief, Mr. Ford was a resident at New Creations Inn at

  least in part because he has difficulty with communication. In misinterpreting Ms. O’Neal’s




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  grief, Mr. Ford became convinced that Ms. O’Neal intended to harm herself based on an off-hand


  comment that she might be better off if she drove her Jeep off a cliff.

         32.     Mr. Ford reported the incident to two staff members at New Creations Inn,

  Caseworker Lois Anne Largent and Program Director Alan Donald.

         33.     Mr. Ford, Ms. Largent and Mr. Donald then attempted to speak with Ms. O’Neal


  at her apartment.

         34.     Ms. O’Neal, who was still on the phone with her sister as the two communicated


  with their mother’s doctors, asked Ms. Largent and Mr. Donald to leave her alone, as she had no


  desire to be interrupted while in the midst of a crisis.

         35.     Knowing that Ms. O’Neal had recently started taking new medication, Mr. Ford


  was worried about her safety, and that she declined to speak with staff members, Mr. Donald

  called the police to perform a welfare check and ensure Ms. O’Neal’s safety.


     B. MS. O’NEAL’S UNLAWFUL ARREST AND DETAINMENT


         36.     At approximately 12:28 P.M. on May 5, 2014, Deputy Michael Fetterhoff of the

  FSCO was dispatched to New Creations Inn to check on Plaintiff.

         37.     Deputy Fetterhoff arrived at New Creations Inn at approximately 12:32 P.M.

         38.     Sergeant Steve Sanger and Sergeant Troy Johnston joined Deputy Fetterhoff at

  New Creations Inn shortly thereafter.

         39.     These three officers had been informed by New Creations Inn staff that Plaintiff

  allegedly had said she might be better off if she drove her Jeep off a cliff.

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          40.     In a Motions Hearing regarding Plaintiff’s false criminal charges, held on August


  5, 2014 before Fremont County Judge Norman S. Cooling (the “Motions Hearing”), Sergeant


  Johnston admitted that, based on the suicidal threats made to Mr. Ford, Plaintiff should have

  been taken to a medical facility following the welfare check. However, at the time the officers

  responded, FSCO staff had “no formal training on how to handle suicide threats.”


          41.     At the moment the officers arrived, Plaintiff was still speaking with her sister on

  speakerphone as she was getting undressed and preparing to take a bath, in the hopes calming

  down from the day’s already stressful events.


          42.     When the three Defendants knocked on her door, Plaintiff informed them she was

  naked and repeatedly told them to leave.

          43.     Disregarding Plaintiff’s lack of consent, the Defendant officers ordered the


  Program Director, Mr. Donald, to give them the keys to Plaintiff’s apartment and began to unlock


  her door.

          44.     Prior to entering her apartment, none of the three Defendant officers offered

  Plaintiff an opportunity to get dressed before barging in uninvited.

          45.     As soon as the Defendants unlocked the door without probable cause, a warrant,

  her consent or any exigent circumstances, Plaintiff immediately protested the Defendants’ illegal


  entry and yelled forcefully that she was naked and the police had no right to enter her home.




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          46.     Instead of leaving Plaintiff’s residence, or even shutting the door and giving her a


   few moments to dress, the three male officers—dressed in full uniform and equipped with


   sidearms, handcuffs, Tasers and expandable batons—remained inside her apartment with the


   door open while she stood stark naked and screamed at them to leave, yelling loudly and clearly

   throughout the encounter, “Nobody invited you in!” “You were not invited! I did not let you in!”


   “You need to go outside!” and “You go outside my door and talk to me!”


          47.     Upon their unlawful entry, Plaintiff immediately informed the Defendants that “I


   ain’t … [indiscernable] to harming myself!” in an effort to communicate that she had no


   intention of harming herself.

          48.     During the Motions Hearing, Defendant Johnston admitted that as he did not find

   Plaintiff in her Jeep, but rather inside her apartment, he was not worried at the time that she was

   imminently going to drive her Jeep off a cliff or otherwise harm herself.

          49.     When the officers refused to leave, Plaintiff became even more upset and started

   yelling more loudly.

          50.     Throughout this encounter, none of the Defendants attempted to soothe or comfort

   Plaintiff, despite their knowledge that she was in a mentally vulnerable state, having made a

   possible suicide threat requiring a welfare check—the only reason for Defendants’ presence.




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           51.    Indeed, the Defendants’ words and actions triggered Plaintiff’s Panic Anxiety


   Disorder and PTSD from earlier traumatic life events, serving only to further destabilize her

   mental health and vulnerable state of mind.

           52.    Next, in retaliation for Plaintiff’s constitutionally protected First Amendment


   expression of protest at the Defendants’ official misconduct in unlawfully entering her home, the


   Defendants proceeded to handcuff and arrest Plaintiff.

           53.    When Defendant Johnston’s yelling did not quiet her, he ordered Plaintiff to “turn


   around.”


           54.    Defendant Sanger then announced “We’re going to detain you until… we find out


   what’s going on” and ominously threated “You’re going to get tased, Carolyn.”


           55.    Unsurprisingly, the Defendants’ threats of violence did nothing to calm Plaintiff


   and only served to escalate the situation further.

           56.    During the Motions Hearing, Defendant Johnston admitted that as a law

   enforcement officer, he should not make threats or antagonize someone in a fragile mental state

   who was making suicidal threats. He admitted that “you need to handle these situations


   delicately.”


           57.    As is evident from the officers’ own incident reports and audio recording, the next


   six minutes involved a brutal, dramatic and completely unjustified detention.
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          58.     During the Motions Hearing, Sergeant Johnston admitted that at no point in time

   did Plaintiff make any threats to physically harm the officers or anyone else, nor did she make

   any movements toward the officers that would have indicated she was planning to harm them.

          59.     Nevertheless, according to Defendant Fetterhoff’s incident report, Defendant


   Johnston “grabbed [Ms. O’Neal] by her right arm and placed her against the bed” while Deputy


   Fetterhoff “grabbed [Ms. O’Neal] by the back of her head to hold her down and grabbed her left


   arm to assist Sergeant Johnston with cuffing [Ms. O’Neal].”


          60.     As the still nude, diminutive female struggled against Defendant Johnston, she

   cried, “My mother is dying, and you just broke through my house, with me naked!”


          61.     After these three hefty male officers threw Plaintiff’s prone, naked body onto the


   bed, they held her down by the head, handcuffed her, threw a blanket over her body, and then

   asked her to “talk with” them.


          62.     Plaintiff refused, continuing to yell at the officers, shouting “Don’t talk to me. No.


   You go outside my door to talk to me!”


          63.     Eventually, the Defendants dragged Plaintiff to her feet, pulled her outside,

   humiliated her as they paraded her handcuffed and wrapped in only a blanket past friends and

   neighbors, and threw her in the back of a police vehicle.




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          64.     At no point during Plaintiff’s arrest or detainment did Defendants Fetterhoff,


   Johnston or Sanger advise her as to what offense she had committed, despite repeatedly telling

   her she was being detained.

          65.     Despite all of the information from the New Creations Inn staff suggesting

   Plaintiff’s need for medical attention, and her own clearly vulnerable, agitated and deteriorating


   state of mind, Plaintiff was never placed in an ambulance nor taken to a hospital. None of the

   Defendants, nor any other staff at the Jail, ever called West Central Mental Health (now Solvista

   Health) or other medical facility to request a clinical worker to meet with Plaintiff and evaluate

   her state of mind and mental health.

          66.     After the three officers forced Plaintiff into the police vehicle, Defendant

   Fetterhoff drove her to the Jail in the back of his police vehicle.

          67.     During her transport, Plaintiff continued to exercise her well-established

   constitutionally protected right to protest illegal police misconduct, crying out to Defendant

   Fetterhoff “What’s you got to take me to jail for? What did I do wrong? You’re the [expletive]


   one that has [expletive] broke the law!” and “Busting through my house, [with me] [expletive]


   naked!”


          68.     When Plaintiff was brought to the Jail by Defendant Fetterhoff—despite the fact


   that she had committed no crime—she was still handcuffed and completely nude except for a


   blanket.



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          69.     None of Defendants Fetterhoff, Ulrich, Hammel, Solano, Gonzales, Pohl, or

   Bunch, nor any other Jail staff, provided Plaintiff with a Jail uniform upon her arrival.

          70.     As Defendant Fetterhoff arrived at the Jail sally port with Plaintiff in the back seat

   at approximately 12:51 P.M. on May 5, 2014, Defendants Gonzales, Pohl, Bunch and Solano

   made their way to the police vehicle.

          71.     Having been triggered by her excessively forceful false arrest, Plaintiff’s PTSD


   caused her to become even more agitated as Defendant Bunch opened the police vehicle rear

   door and roughly removed her from the police vehicle, as Plaintiff again protested “You all can


   say whatever you want, busting through my house [with me] naked!”


          72.     Shortly after Plaintiff exited the police vehicle, Defendants Gonzales and Solano

   performed an excessively forceful takedown of Ms. O’Neal, pushing her 123-pound naked body


   down onto the hard ground with their full bodyweights and unnecessarily roughly restraining her

   as she lay prostrate and handcuffed behind her back.

          73.     While Defendants Gonzales and Solano remained piled up on top of Plaintiff, she

   continued to protest the Defendants’ illegal police conduct, shouting “You’re goddamn breaking


   the law!”


          74.     At approximately 12:53 P.M., Defendants Solano, Gonzales, Bunch and Pohl

   excessively forcefully placed Plaintiff in an Emergency Restraint Chair (“restraint chair”) and


   violently uncuffed her and then secured her limbs, waist and shoulders into restraints, checking

   them for tightness.

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          75.     One of the Defendants dug his knee into Plaintiff’s back as he was securing her


   restraints, to which Plaintiff retorted “Get your knee off my back! I’m not gonna hurt nobody!”


   She continued protesting the Defendants’ illegal conduct, yelling “You [expletive] broke the law,


   busting through my door!” and “Preserve the right of the innocent… really?!”


          76.     In addition to constituting a serious violation of Plaintiff’s Fourth and Fourteenth


   Amendment constitutional rights to be free of excessive force, Defendants’ actions in forcing


   Plaintiff into a restraint chair directly from handcuffing her contravened the Jail’s own Detention


   Division Standard Operating Procedures Manual with respect to the Use of Force and Restraints

   (“Restraint SOP Manual”). The Jail’s Restraint SOP Manual permits the use of Level 3 restraints


   (including an Emergency Restraint Chair) only after “follow[ing] a continuum of escalation


   restraints” from Level 1 restraints (including handcuffs) to Level 2 restraints (including regular


   metal handcuffs, hinge metal handcuffs, flex cuffs, and leather soft wrist cuffs in combination

   with waist belt belly chains, leather soft ankle cuffs, or leg irons). Pursuant to the Jail’s own


   Restraint SOP Manual, any departure from this sequential restraint escalation continuum, such as

   placing an inmate in Level 3 restraints directly from Level 1 restraints, must be approved by the

   Detention Division Commander or designee. When restraint equipment is used, officers are




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   required to complete a “Use of Force/ Restraint Data form” and use of any Level 3 restraints


   (including an Emergency Restraint Chair) must be documented in a Master Control Daily Log.

          77.     Defendants violated the Jail’s Restraint SOP Manual by escalating Plaintiff’s


   restraints directly from Level 1 to Level 3 without first obtaining the approval of the Detention

   Division Commander and failing to complete a “Use of Force/ Restraint Data form.”


          78.     As noted in the Fremont County Sheriff’s Office Custody II Deputy Report Form,


   Ms. O’Neal was unable to sign to confirm the items in her personal possession (Clothing Worn:


   “1 Blanket”) when she arrived because she was “In Restraint Chair.”


          79.     Next, to shut her up and in further retaliation for her continuing constitutionally

   protected expressions of protests of Defendants’ law enforcement misconduct, including


   Plaintiff’s threats that she would remember Defendants’ names and they would lose their jobs,


   Defendants Gonzales and Bunch placed a spit mask over Plaintiff’s head, which was not


   removed for several hours.

          80.     At approximately 1:09 P.M., Plaintiff managed to free her legs from the leg

   restraints, and in doing so was able to cross her legs to protect her dignity.

          81.     When approached by Jail staff, Plaintiff did not attempt to kick any of the

   Defendants, but simply endeavored to keep her legs crossed, as she was still nude and covered

   only by a suicide smock that repeatedly slid down, again and again exposing her naked body.



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          82.     Although Plaintiff could not possibly have posed a threat to herself or others

   while restrained in a restraint chair and covered in a spit mask, at approximately 1:11 P.M.,

   Defendants Solano, Hammel, Gonzales, and Pohl entered her holding cell, surrounded Plaintiff,

   and proceeded to excessively forcibly coerce Plaintiff’s legs back into leg restraints.


          83.     When Plaintiff refused to allow her legs to again be pulled apart and placed in leg

   restraints, Defendant Pohl, under direction from Defendant Gonzales, excessively forcibly

   applied a “hypoglossal pressure point” compliance technique to Plaintiff’s neck and jaw in order


   to compel her to replace her legs in restraints.

          84.     The image below is a screenshot from Jail surveillance video of holding cell 3 at

   approximately 1:10 P.M. on May 5, 2014 which depicts Defendant Pohl applying a “hypoglossal


   pressure point” compliance technique to both sides of Plaintiff’s neck while Defendants


   Gonzales, Solano and Hammel attempted to forcibly restrain Plaintiff’s legs.




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          85.     When this technique failed to yield the Defendants’ desired coercive result,


   Defendant Ulrich, who had by this point joined the other Defendants, with excessive force tased

   the nude, restrained Plaintiff twice in quick succession at close range on her right upper thigh in

   “drive stun mode” for a duration of approximately 4-6 seconds each.


          86.     The image below is a screenshot from Jail surveillance video of holding cell 3 at

   approximately 1:11 P.M. on May 5, 2014 which depicts Defendant Ulrich leaning down and

   tasing Plaintiff on her upper right leg at close range, while Defendants Gonzales, Pohl, Solano

   and Hammel looked on.




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           87.     The Defendants’ inhumane and indefensible use of force perpetrated upon


   Plaintiff was motivated not by any reasonable perception that Plaintiff posed a security threat,

   but instead by a vindictive desire to retaliate against Plaintiff for her continuing constitutionally

   protected protests of their illegal conduct and to shut her up.

           88.     Defendant’s use of a Taser at close range left painful red burn marks the size of


   pencil erasers on Plaintiff’s right leg.


           89.     In addition to constituting a gross violation of Plaintiff’s Fourth and Fourteenth


   Amendment constitutional right to be free of excessive force, Defendants’ violent use of a Taser

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   upon Plaintiff’s person violated the Jail’s own Detention Division Standard Operating Procedure


   Manual with respect to the use of an Electronic Restraint Device “TASER” (“Taser SOP


   Manual”) in at least the following ways: (1) the Jail’s Taser SOP Manual provides that Tasers


   are “not to be used in any manner except in gaining control of non-compliant, belligerent,


   violent, resistive subjects,” yet Defendants tased Plaintiff for being only “verbally combative;” (2)


   per the Jail’s Taser SOP Manual, Tasers shall not be used on persons in wheelchairs, yet


   Defendants tased Plaintiff while she was trapped in a device far more restrictive than any

   wheelchair; (3) the Jail’s Taser SOP Manual requires officers to take at least three (3)


   photographs of the Taser impact site “as soon as feasibly possible,” yet Defendants failed


   altogether to photograph the red burn marks Defendant Ulrich’s Taser left on Plaintiff’s right leg.


          90.     Defendants conspired to conceal the second incident of Taser use by reporting

   only a single use of a Taser in their respective incident reports. Additionally, in response to

   undersigned counsel’s request of Plaintiff’s Jail records pursuant to the Colorado Open Records


   Act, the Fremont County Sheriff’s Office failed to furnish automatic electronic Taser reports that


   would have confirmed the number and duration of tasing incidents.

          91.     After she spent nearly four (4) hours in the restraint chair, Plaintiff’s restraints


   were finally removed and she was locked inside a cell. Plaintiff was left in that cell, alone and


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   naked, for approximately eight (8) hours before officers provided her with a jail uniform at

   approximately 12:53 A.M. on May 6, 2014.

             92.   Aside from a desire to humiliate, punish and/or retaliate against Plaintiff for her

   constitutionally protected protest of Defendants’ illegal law enforcement misconduct, there was


   absolutely no justifiable reason for Defendants to have forced Plaintiff to remain in the nude, in

   full sight of male deputies and other inmates, for a total of approximately twelve (12) hours.

             93.   In addition to constituting an outrageous violation of Plaintiff’s Fourteenth


   Amendment rights to be free of violations of her privacy and bodily integrity, Defendants’


   actions and inactions in forcing Plaintiff to remain completely nude in the Jail for approximately

   twelve (12) hours was also a flagrant violation of Colorado law respecting strip searches. Under

   Colo. Rev. Stat. § 16-3-405 “Strip searches – when authorized or prohibited,” a strip search is


   defined as “having an arrested person remove or arrange some or all of his or her clothing so as


   to permit a visual inspection of the genitals, buttocks, anus or female breasts of such person.”


   Colo. Rev. Stat. § 16-3-405(2). A strip search is purely visual in nature and thus can be said to

   have occurred any time officers remove (or fail to provide) an inmate’s clothing and view such


   inmate in the nude. Any peace officer who knowingly or intentionally fails to comply with any

   provision of this statute commits second degree official misconduct. Colo. Rev. Stat. § 16-3-

   405(6).

             94.   Defendants violated Colo. Rev. Stat. § 16-3-405 in at least the following ways: (i)

   Colo. Rev. Stat. § 16-3-405(1) provides that “[n]o person arrested for a traffic or a petty offense
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   shall be strip searched, prior to arraignment, unless there is reasonable belief that the individual

   is concealing a weapon or a controlled substance or that the individual, upon identification, is a

   parolee or an offender serving a sentence in any correctional facility in the state or that the

   individual is arrested for driving while under the influence of drugs,” but Defendants subjected


   Plaintiff to a twelve (12) hour strip search even though she was allegedly arrested for a petty

   offense and Defendants had no reasonable or actual belief that she was concealing anything, as

   she arrived at the Jail already nude; (ii) Colo. Rev. Stat. § 16-3-405(3) provides that “[a]ny strip


   search that is conducted shall be performed by a person of the same sex as the arrested person

   and on premises where the search cannot be observed by persons not physically conducting the

   search,” but Plaintiff’s twelve (12) hour strip search was conducted by multiple male officers in


   full view of numerous male officers and inmates; and (iii) Colo. Rev. Stat. § 16-3-405(4)

   provides that before conducting a strip search, a peace officer “shall obtain the written


   permission of… a sheriff or an agent thereof designated for the purposes of authorizing a strip


   search in accordance with this section,” but no such permission was sought or granted in


   Plaintiff’s case.


           95.     Plaintiff was never informed why she was being detained. It was not until her

  hearing two days later on May 7, 2014 that Plaintiff finally learned she was being charged with

  resisting arrest and disorderly conduct for “offensive utterances.”




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          96.        These false, trumped up charges – resulting entirely from a situation that the


   Defendants Fetterhoff, Johnston and Sanger themselves instigated and subsequently escalated –


   were later dismissed for lack of probable cause.

          97.        In his Findings and Order dated August 14, 2014, Fremont County Judge Norman

   C. Cooling concluded that “the deputies lacked probable cause to arrest the defendant for


   disorderly conduct based on the totality of the circumstances.”


          98.        Judge Cooling noted that “Disorderly conduct requires offensive conduct in a


   public place. [Ms. O’Neal] was under arrest (in custody) when handcuffed in her apartment, a


   private place.”


          99.        Indeed, not only were these charges – as well as Ms. O’Neal’s arrest and brutal,


   humiliating and vindictive treatment in jail – all instigated and caused entirely by the Defendants’


   own illegal actions, they also served to disguise the real reason for Ms. O’Neal’s unlawful arrest


   and detainment: the officers’ retaliation against Ms. O’Neal’s constitutionally protected


   expression of protest against police misconduct.

          100.       As a result of Defendants’ blatantly illegal, brutal and humiliating actions, Ms.


   O’Neal has suffered severe damages.




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       C. FREMONT COUNTY SHERIFF’S OFFICE’S PRACTICE, CUSTOM AND


           POLICY OF EXCESSIVE FORCE

           101.    Fremont County Sheriff James Beicker and Undersheriff Ty Martin have created,

   fostered, maintained and tolerated an environment and culture of law enforcement brutality and

   deliberate indifference to the constitutional rights of its citizens and residents.

           102.    Fremont County law enforcement officers have repeatedly and unlawfully used

   excessive force against citizens, targeting in particular its most vulnerable citizens—individuals

   with mental and other disabilities.

           103.    Fremont County law enforcement officers have engaged in a persistent practice of

   law enforcement misconduct, and the officials responsible for assuring that such misconduct

   does not occur have consistently failed to properly train, supervise, and discipline individual

   officers who have engaged in such misconduct.

           104.    In addition to the excessive force used against Ms. O’Neal, this culture and

   environment of brutality and the lack of training, supervision, and discipline of law enforcement

   officers is evidenced by the incidents described below.

           105.    Upon information and belief, in October 2013 an 18-year old, mentally disabled,

   severely autistic man with fetal alcohol syndrome was arrested by Fremont County Sheriff’s


   Office law enforcement officers. The young man was walking down the street with his hands in


   his pockets, minding his own business. Fremont County officers approached him for no


   apparent reason and without probable cause. The officers began shouting at him to take his

   hands out of his pockets and when he failed to do so, attempted to forcibly remove his hands


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   from his pockets. As a result of his obvious and serious mental disabilities, the young man

   attempted to run away. In response, the officers violently tackled and handcuffed him, injuring

   him and bruising his shoulders. The young man never attacked or threatened the officers, yet he


   was charged with 3rd degree assault, obstructing a peace officer and resisting arrest. Consistent


   with his numerous disabilities, he was later found incompetent to stand trial, and all charges

   against him were dropped. Upon information and belief, the officers involved were never

   disciplined for targeting and attacking a mentally disabled man.

          106.     Upon information and belief, in April 2014, less than a month before Ms.

   O’Neal’s arrest and detainment, John Patrick Walter ultimately died because of numerous


   violations of his Fourteenth Amendment rights during a 17-day stay at the Fremont County

   Detention Center. Upon information and belief, correctional staff at the Jail confiscated and

   discontinued Mr. Walter’s prescription medication, forcing him to go “cold turkey” and into life-


   threatening drug withdrawal, utterly neglecting his severe and potentially fatal withdrawal

   symptoms, allowing him to descend into a state of acute withdrawal psychosis, failing to protect

   him from self-harm, using brutal and excessive force in response to his medical condition rather

   than providing him with desperately needed medical care, inflicting serious injuries upon him,

   ignoring his serious physical injuries and critical mental health needs, failing to ensure adequate

   nourishment and hydration despite his own inability to meet those essential needs, disregarding

   his obvious malnourishment and dehydration, detaining him under inhumane conditions of

   confinement, otherwise forcing him to endure extreme and needless pain and suffering and




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   ultimately causing his death. Following this cruel and callous treatment at the hands of Jail staff,

   Mr. Walter died alone and naked in his cell.

      D. FREMONT COUNTY SHERIFF’S OFFICE’S CUSTOM, POLICY AND


          PRACTICE OF FAILING TO TRAIN OFFICERS WITH RESPECT TO THE

          PROPER TREATMENT OF PERSONS WITH MEDICAL CONDITIONS,

          PHYSICAL OR MENTAL DISABILITIES AND/OR SUICIDAL THREATS

          107.    Fremont County and the Fremont County Sheriff’s Office have created, fostered,


   tolerated and maintained constitutionally deficient policies and neglected to train its employees

   with respect to the proper procedures for treatment of arrestees and detainees with medical

   conditions, physical or mental disabilities and/or suicide threats.

          108.    Fremont County law enforcement officers have engaged in a persistent practice of

   law enforcement misconduct with respect to the treatment of detainees with serious medical

   and/or mental health needs, and the officials responsible for assuring that such misconduct does

   not occur have consistently failed to properly train, supervise, and discipline individual officers

   who have engaged in such misconduct.

          109.    Specifically, although the Fremont County Sheriff’s Office has a written policy


   with respect to Suicide Prevention and Intervention in its Standard Operating Procedures

   Manual, at all times relevant to this action, Fremont County provided no training whatsoever for

   officers on this subject. Further, Jail staff did not receive training with respect to medical

   screening or the proper treatment of and reporting of inmates’ serious medical and/ or mental


   health conditions.


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          110.    Fremont County law enforcement officers have repeatedly and unlawfully failed

   to accommodate and, with deliberate indifference, ignored the serious medical and/ or mental

   health conditions and disabilities of its inmates, which has resulted in multiple unnecessary

   suicide attempts, deaths and serious injuries in the Jail, some of which are detailed below.

          111.    As described in paragraph 115 above, John Patrick Walter died in the Jail in April

   2014, in part because Jail staff failed to provide his prescription medications and then repeatedly

   ignored his serious and obvious medical and mental health needs.

          112.    Upon information and belief, in April 2014, a diabetic woman was detained in the

   Jail. Because Jail staff refused to provide her with needed insulin and then ignored her obvious

   medical distress, the woman suffered seizures and eventually required a toe amputation.

          113.    Upon information and belief, in January 2015, a 65-year old, blind man died in

   the Jail due to an intestinal rupture. Although he was in severe and obvious pain, Jail staff

   ignored his condition and refused to provide or call for any medical attention.

          114.    Upon information and belief, in October and November 2015, respectively, two

   men with serious and known mental illness jumped from the second story of “J-Pod” in apparent


   suicide attempts. As a result of Jail staff’s failure to protect the inmates from self-harm, one of


   the men fractured his femur and the other man cracked his skull.

          115.    On March 17, 2016, Gregory Smith, 57, collapsed and died while working in the

   Jail kitchen. An investigation is underway and results will confirm his cause of death and

   whether it could have been prevented had Jail staff provided needed medical care.



                             STATEMENT OF CLAIMS FOR RELIEF


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                                     FIRST CLAIM FOR RELIEF

                          42 U.S.C. § 1983 – Fourth Amendment Violation –

                                    Unlawful Seizure / False Arrest

                        (Against Defendants Fetterhoff, Johnston and Sanger)

           116.    Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.

           117.    Defendants Fetterhoff, Johnston and Sanger were all acting under color of state

   law in their actions and inactions that occurred at all times relevant to this action.

           118.    At no relevant time did any of Defendants Fetterhoff, Johnston or Sanger have

   probable cause or reasonable suspicion, or any other legally valid basis, to believe that Plaintiff

   had committed or was committing any violation of the law prior to seizing and continuing to

   illegally restrain her person.

           119.    At no relevant time did Defendants Fetterhoff, Johnston or Sanger have a

   reasonable basis for believing that Plaintiff was an imminent danger to herself or others. No

   exigent circumstances existed justifying the Defendants’ unlawful entry.


           120.    At no relevant time did any of Defendants Fetterhoff, Johnston or Sanger have a

   warrant authorizing any seizure of Plaintiff’s person.


           121.    At no relevant time did Plaintiff give her consent for any officers to enter her

   residence.

           122.    During the seizure at issue, Defendants Fetterhoff, Johnston and Sanger forcibly

   and intentionally restrained and arrested Ms. O’Neal against her will, despite lacking any legally


   valid basis for their actions.

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          123.     Defendant Fetterhoff’s, Johnston’s and Sanger’s actions were objectively


   unreasonable in light of the circumstances confronting them, and violated clearly established law

   of which reasonable officials in their positions would have known.

          124.     Defendants Fetterhoff, Johnston and Sanger engaged in their respective actions

   and inactions intentionally, willfully and wantonly.

          125.     Plaintiff has been and continues to be damaged by these Defendants’

   unreasonable seizure of her, including but not limited to severe mental and emotional distress.

          126.     The acts and omissions each Defendant described herein were the legal and

   proximate cause of Plaintiff’s damages.


                                    SECOND CLAIM FOR RELIEF

                           U.S.C. § 1983 – Fourth Amendment Violation –

                                             Excessive Force

          (Against Defendants Fetterhoff, Johnston and Sanger and the Fremont County

                                                Defendants)

          127.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.

          128.     Defendants Fetterhoff, Johnston and Sanger were acting under color of state law

   in their actions and inactions that occurred at all times relevant to this action.

          129.     At the time when Plaintiff was unlawfully seized, violently pushed down onto her

   bed naked, had her arms grabbed roughly behind her back and excessively tightly handcuffed

   and thrown into a police vehicle by Defendants Fetterhoff, Johnston and Sanger, Plaintiff had a




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   clearly established constitutional right to be secure in her person from unreasonable seizure

   through excessive force.

          130.    Any reasonable law enforcement officer knew or should have known of this

   clearly established right.

          131.    Defendants Fetterhoff, Johnston and Sanger engaged in use of force that was

   objectively unreasonable in light of the facts and circumstances confronting them, violating

   Plaintiff’s Fourth Amendment rights.


          132.    Defendants Fetterhoff’s, Johnston’s and Sanger’s actions, as described above, were


   motivated by intent to harm Plaintiff and retaliate against Plaintiff for her constitutionally

   protected expression of protest at Defendants’ illegal entry and seizure of her person.


          133.    Defendants Fetterhoff’s, Johnston’s and Sanger’s respective actions and inactions,


   as described herein, were undertaken intentionally, maliciously, willfully, wantonly, and/or in

   reckless disregard of Plaintiff’s federally protected rights.


          134.    The acts and omissions of each Defendant described herein, were the legal and

   proximate cause of Ms. O’Neal’s damages.


          135.    The acts and omissions of Defendants were engaged in pursuant to the custom,

   policy, and practice of Fremont County, which encourages, condones, tolerates, and ratifies the

   use of excessive force by law enforcement officers.




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             136.   The acts or omissions of the Fremont County Defendants caused Plaintiff

   damages in that she suffered pain and humiliation during and after her arrest, resulting in serious

   trauma.

                                     THIRD CLAIM FOR RELIEF

             U.S.C. § 1983 – Fourth and Fourteenth Amendment Due Process Violation –

                                              Excessive Force

     (Against Defendants Ulrich, Solano, Hammel, Gonzales, Bunch, Pohl and the Fremont

                                           County Defendants)



             137.   Plaintiff incorporates all other paragraphs of this Complaint for purposes of this

   Claim.

             138.   Defendants Ulrich, Solano, Hammel, Gonzales, Bunch and Pohl were acting

   under color of state law in their actions and inactions that occurred at all times relevant to this

   action.

             139.   At the time when Plaintiff was tackled to the ground and subsequently restrained

   naked in a restraint chair wearing only a spit mask and was being excessively forcibly handled

   by Defendants Ulrich, Solano, Hammel, Gonzales, Bunch and Pohl, including the application of

   a “hypoglossal pressure point” technique and being tased twice on her right leg at close range, as


   a pre-trial detainee, Plaintiff had a clearly established Fourth and Fourteenth Amendment Due

   Process right to be secure in her person from the use of excessive force.

             140.   Any reasonable law enforcement or correctional officer knew or should have

   known of this clearly established right.



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          141.    Defendants Ulrich, Solano, Hammel, Gonzales, Bunch and Pohl engaged in use of

   force that was objectively unreasonable in light of the facts and circumstances confronting them,

   violating Plaintiff’s Fourteenth Amendment rights.


          142.    Defendants Ulrich’s, Solano’s, Hammel’s, Gonzales’, Bunch’s and Pohl’s


   respective actions, as described above, were motivated by intent to harm Plaintiff and retaliate

   against her for Plaintiff’s constitutionally protected expression of protest of Defendants’ illegal


   detainment and unlawful use of excessive force upon Plaintiff.

          143.    Defendants Ulrich’s, Solano’s, Hammel’s, Gonzales’, Bunch’s and Pohl’s


   respective actions and inactions, as described herein, were undertaken intentionally, maliciously,

   willfully, wantonly, and/or in reckless disregard of Plaintiff’s federally protected rights.


          144.    The acts and omissions of each Defendant described herein, were the legal and

   proximate cause of Ms. O’Neal’s damages.


          145.    The acts and omissions of Defendants were engaged in pursuant to the custom,

   policy, and practice of Fremont County, which encourages, condones, tolerates, and ratifies the

   use of excessive force by law enforcement officers.

          146.    The acts or omissions of the Fremont County Defendants caused Ms. O’Neal


   damages in that she suffered pain and humiliation during and after her arrest, resulting in serious

   injuries and trauma.

                                       FOURTH CLAIM FOR RELIEF

           42 U.S.C. § 1983 – Violations of First and Fourteenth Amendments to United States

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      (Against Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel, Gonzales,

                                             Bunch and Pohl)

            147.   Plaintiff incorporates all other paragraphs of this Complaint for purposes of this

   Claim.

            148.   Plaintiff was engaging in constitutionally-protected activity at all relevant times,

   including but not limited to her protest of Defendants Fetterhoff’s, Johnston’s and Sanger’s

   unlawful entry into her apartment and unlawful seizure of her person, and her protest against

   Defendants Ulrich’s, Solano’s, Hammel’s, Gonzales’, Bunch’s and Pohl’s illegal detainment and


   excessively violent treatment of Plaintiff while she remained in their custody at the Jail.

            149.   Plaintiff’s speech was related to a matter of important public concern.

            150.   Defendants Fetterhoff’s, Johnston’s, Sanger’s, Ulrich’s, Solano’s, Hammel’s,


   Gonzales’, Bunch’s and Pohl’s conduct was substantially motivated as a response to and in


   retaliation for Plaintiff’s exercise of constitutionally-protected speech.

            151.   Defendants Fetterhoff’s, Johnston’s, Sanger’s Ulrich’s, Solano’s, Hammel’s,


   Gonzales’, Bunch’s and Pohl’s adverse actions in retaliation for Plaintiff’s exercise of her free


   speech rights caused Plaintiff to suffer injuries.

            152.   Defendants Fetterhoff’s, Johnston’s, Sanger’s Ulrich’s, Solano’s, Hammel’s,


   Gonzales’, Bunch’s and Pohl’s conduct violated clearly established rights belonging to Plaintiff


   of which reasonable public officials knew or should have known.



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           153.     Plaintiff’s right to speak out on issues of public concern outweighed any of

   Defendants’ interests.

           154.     Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel, Gonzales,

   Bunch and Pohl engaged in the conduct described by this Complaint willfully and wantonly and

   in reckless disregard of Plaintiff’s constitutional rights.

           155.     Defendants’ conduct legally and proximately caused significant injuries, damages,

   and losses to Plaintiff.

                                      FIFTH CLAIM FOR RELIEF

                       U.S.C. § 1983 – Fourteenth Amendment Due Process Violation –

                                 Right to Bodily Integrity and Right to Privacy

                  (Against Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel,

                                           Gonzales, Bunch and Pohl)

           156.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.

           157.     Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel, Gonzales,

   Bunch and Pohl were acting under color of state law in their actions and inactions that occurred

   at all times relevant to this action.

           158.     At the time Plaintiff was unlawfully seized and arrested while nude and then

   paraded outside naked but for a blanket by Defendants Fetterhoff, Johnston, and Sanger, and

   subsequently detained still completely nude in the Jail for approximately twelve (12) hours,

   during which time she was restrained in a restraint chair and clothed only in a spit mask, Plaintiff

   had a clearly established Fourteenth Amendment Due Process right to be secure in her person

   from unnecessary invasion of her privacy and bodily integrity.


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           159.    Any reasonable law enforcement or correctional officer knew or should have

   known of this clearly established right.

           160.    Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel, Gonzales,

   Bunch and Pohl engaged in actions and inactions, including but not limited to never providing

   Plaintiff with an opportunity to clothe herself prior to and following her unlawful arrest, and then

   failing to provide her with a jail uniform promptly upon arrival to the Jail, forcing her to remain

   nude in full view of other jail staff and inmates for approximately twelve (12) hours, that are

   arbitrary, shock the conscience, and cannot be reasonably justified by any legitimate state

   interest, depriving Plaintiff of her Fourteenth Amendment rights.

           161.    Defendants Fetterhoff’s, Johnston’s, Sanger’s, Ulrich’s, Solano’s, Hammel’s,


   Gonzales’, Bunch’s and Pohl’s respective actions and inactions, as described herein, were


   undertaken intentionally, maliciously, willfully, wantonly, and/or in reckless disregard of

   Plaintiff’s federally protected rights.


           162.    The acts and omissions of each Defendant described herein were the legal and

   proximate cause of Plaintiff’s damages.


                                     SIXTH CLAIM FOR RELIEF

      42 U.S.C. § 12132, et seq. – Violation of Title II of the Americans with Disabilities Act

                                             of 1990, as Amended

                  Unlawful Discrimination and Failure to Reasonably Accommodate

                                         (Against All Defendants)




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          163.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.

          164.     The Americans with Disabilities Act (hereinafter referred to as the “ADA”), 42


   U.S.C. §§ 12101 et seq., and specifically 42 U.S.C. §§ 12131-12134, prohibits discrimination in


   public services on the basis of disability. 42 U.S.C. § 12132 provides:

                   Subject the provisions of this subchapter, no qualified individual with a disability

                   shall, by reason of such disability, be excluded from participation in or be denied

                   the benefits of the services, programs, or activities of a public entity, or be

                   subjected to discrimination by any such entity.

          165.     The ADA defines a “public entity” to include any state or local government or any


   department, agency, special purpose district, or other instrumentality of a State or local

   government, 42 U.S.C. § 12131(1). The Fremont County Sheriff’s Office, the Jail and Fremont


   County each are a “public entity” within the meaning of the ADA.


          166.     At all relevant times, Plaintiff was a person with a disability that substantially

   limits one or more of her major life activities, had a record of a disability, including but not

   limited to Panic Anxiety Disorder, PTSD and suicidal ideation, or was regarded as having a

   disability by Defendants.

          167.     Plaintiff, with or without reasonable modifications to rules, policies or practices,

   met the essential eligibility requirements for the receipt of services or the participation in

   programs or activities provided by the Defendants. Thus, Plaintiff was a “qualified individual

   with disabilities” within the meaning of the ADA, 42 U.S.C. § 12131(2).

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           168.    Plaintiff was qualified to participate in the services, programs, activities, and

   benefits provided to arrestees and detainees at the Jail within the meaning of Title II of the ADA.

           169.    Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel, Gonzales,

   Bunch and Pohl were on notice regarding Plaintiff’s potentially suicidal state of mind and

   anxiety stemming from the Defendants’ actions and her Panic Anxiety Disorder and PTSD.

           170.    Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel, Gonzales,

   Bunch and Pohl targeted and discriminated against Plaintiff on the basis of her disabilities and

   failed to reasonably accommodate her disabilities despite knowing that she suffered from a

   number of disabilities, including but not limited to Panic Anxiety Disorder, PTSD and possible

   suicidal ideation, and related impairments and conditions.

           171.    These actions and inactions violated clearly established law under Title II of the

   ADA and its implementing regulations.

           172.    Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel, Gonzales,

   Bunch and Pohl had no legitimate basis for violating Plaintiff’s rights conferred by the ADA.

           173.    The actions of Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel,

   Gonzales, Bunch and Pohl were objectively unreasonable in light of the circumstances

   confronting them.

           174.    Defendants Fetterhoff, Johnston, Sanger, Ulrich, Solano, Hammel, Gonzales,

   Bunch and Pohl engaged in these actions and inactions intentionally, willfully, and wantonly.

           175.    Defendants Fetterhoff’s, Johnston’s, Sanger’s, Ulrich’s, Solano’s, Hammel’s,

   Gonzales’, Bunch’s and Pohl’s actions and inactions were the proximate and legal cause of

   Plaintiff’s injuries.




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           176.    At all times relevant herein, the actions of Defendants Fetterhoff, Johnston,

   Sanger, Ulrich, Solano, Hammel, Gonzales, Bunch and Pohl were engaged in pursuant to the

   custom, policy, and practice of Fremont County.

           177.    The Fremont County Defendants failed to properly train, supervise and/or

   discipline their employees regarding the proper treatment of, and accommodations for,

   individuals with disabilities and, in particular, mental disabilities.

           178.    This inadequate training, supervision, and/or discipline results from a conscious

   or deliberate choice to follow a course of action from among various alternatives available to the

   Fremont County Defendants.

           179.    In light of the duties and responsibilities of the Fremont County Defendants’

   personnel, the need for specialized training, supervision and discipline regarding such decisions

   is so obvious, and the inadequacy of appropriate training and/or supervision is so likely to result

   in a violation of constitutional rights, such as those described herein, that Defendants Board of

   County Commissioners of Fremont County, Sheriff James Beicker and Undersheriff Ty Martin,

   respectively in their official capacities, are liable for their failure to properly train, supervise,

   and/or discipline their subordinate employees and agents.

           180.    Such failure to properly train and supervise caused the violations of Plaintiff’s

   federally-protected rights described herein, and constitutes an unconstitutional policy, procedure,

   custom and/or practice.

           181.    Plaintiff has been and continues to be damaged by Defendants’ unlawful conduct

   under the ADA.




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          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

   and against Defendants, and award her all relief as allowed by law and equity, including, but not

   limited to the following:

              a. Declaratory relief and injunctive relief, as appropriate;

              b. Actual economic damages as established at trial;

              c. Compensatory damages, including, but not limited to those for past and future

                  pecuniary and non-pecuniary losses, emotional pain, suffering, inconvenience,

                  mental anguish, loss of enjoyment of life, medical bills, and other non-pecuniary

                  losses;

              d. Punitive damages for all claims as allowed by law in an amount to be determined

                  at trial;

              e. Issuance of an Order mandating appropriate equitable relief, including but not

                  limited to:

                       i. Issuance of a formal written apology from each Defendant to Plaintiff;



                       ii. The imposition of policy changes designed to avoid future similar

                              misconduct by all Defendants;

                       iii. The imposition of disciplinary action against appropriate employees of the

                              Fremont County Defendants;

              f. Pre-judgment and post-judgment interest at the highest lawful rate;

              g. Attorneys’ fees and costs; and

              h. Such further relief as justice requires.

           PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.


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        DATED this 3rd day of May 2016.

                                               KILLMER, LANE & NEWMAN, LLP
                                               s/ David A. Lane
                                               __________________________
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